
In re Jacobs, Zzeundre Babbinbenell;— Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Rapides, 9th *1281Judicial District Court Div. B, No. 279,752; to the Court of Appeal, Third Circuit, No. CW11-00650.
Writ granted in part; otherwise denied. The district attorney is ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const, art. XII, § 3; R.S. 44:31; R.S. 44:31.1; State ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537; see also Landis v. Moreau, 00-1157, p. 6 (La.2/21/01), 779 So.2d 691, 695.
